                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 3:06-00031-18
                                            )        JUDGE CAMPBELL
ROBERTO MANIER                              )


                                           ORDER


       On March 14, 2013, the Court held a hearing on a Petition for Revocation of Supervised

Release (Docket No. 852).

       By agreement of the parties, the Court will hold a status conference on May 20, 2013, at

9:00 a.m.

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:06-cr-00031       Document 854          Filed 03/14/13   Page 1 of 1 PageID #: 3237
